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  1                                                 NOTE CHANGES
  2
                                                    MADE BY THE COURT

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  8                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  9
                                 WESTERN DIVISION
 10
                                                 CASE NO. 2:22-cv-01700-WDK-JC
 11
       G & G Closed Circuit Events, LLC,
 12                                              ORDER            GRANTING
                             Plaintiff,          STIPULATION OF DISMISSAL
 13

 14                  vs.
 15
       Leonardo Lopez, et al.
 16

 17                          Defendants.
 18
            IT IS HEREBY STIPULATED by and between Plaintiff G & G Closed
 19

 20   Circuit Events, LLC, and Defendants Leonardo Lopez, Iris Lopez, Fernando Lopez,
 21
      Verenice Lopez, and Fermax, Inc. that the above-entitled action is hereby dismissed
 22

 23   without prejudice against Leonardo Lopez, Iris Lopez, Fernando Lopez, Verenice
 24
      Lopez, and Fermax, Inc..
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 26
      ///
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      ///
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Case 2:22-cv-01700-WDK-JC Document 38 Filed 06/23/22 Page 2 of 2 Page ID #:167



  1         IT IS FURTHER STIPULATED that provided no Party referenced above
  2
      has filed a motion to reopen this action by September 21, 2022, the dismissal shall be
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  4   deemed to be with prejudice.
  5
            This dismissal is made pursuant to Federal Rules of Civil Procedure 41(a)(1).
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  7   Each Party referenced-above shall bear its own attorneys’ fees and costs.
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      IT IS SO ORDERED:
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                                          _         Dated: June 23, 2022
      The Honorable William D. Keller
 14   United States District Court
 15
      Central District of California

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